        Case 19-16923-mdc                      Doc
                                        Filed 03/07/24 Entered 03/07/24 08:52:16                                     Desc Main
                                        Document      Page 1 of 9
  Fill in this information to identify the case:
  Debtor 1     DONNA M SMITH

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number 19-16923-mdc




 Form 4100R
 Response to Notice of Final Cure Payment                                                                                         10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


  Part 1:     Mortgage Information

  Name of Creditor:         Santander Bank, N.A.                                                               Court claim no. (if known):
                                                                                                               7
  Last 4 digits of any number you use to identify the debtor’s account: 7898

  Property address:          2425S Arcola St
                             Number Street
                             Philadelphia, PA 19153
                             City      State    ZIP Code


  Part 2:     Prepetition Default Payments

  Check one:
     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim.
     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
     of this response is:                                                                                              $ _______________


  Part 3:     Postpetition Mortgage Payment

  Check one:

     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
     the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      The next postpetition payment from the debtor(s) is due on: __________
                                                                             MM/DD/YYYY


     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

     a. Total postpetition ongoing payments due:                                                                       (a) $ 906.11
     Two payments between 02/01/2024-03/01/2024 in the amount of $774.75 each, less suspense $643.39
     b. Total fees, charges, expenses, escrow, and costs outstanding:                                                 +(b) $ 1,100.00
      Notice of Postpetition Mortgage Fees, Expenses, and Charges filed on 04/06/2020
      c. Total. Add lines a and b.                                                                                     (c) $ 2,006.11

       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became                   02/01/2024
       due on:                                                                         MM/DD/YYYY
        Case 19-16923-mdc                        Doc          Filed 03/07/24 Entered 03/07/24 08:52:16                                Desc Main
                                                              Document      Page 2 of 9

 Debtor1     DONNA M SMITH                                                                      Case number (if known) 19-16923-mdc
                First         Middle                Last



Part 4:     Itemized Payment History


 If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
 debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
 the creditor must attach an itemized payment history disclosing the following amounts from the date of the
 bankruptcy filing through the date of this response:
  all payments received;
  all fees, costs, escrow, and expenses assessed to the mortgage; and
  all amounts the creditor contends remain unpaid.




Part 5:     Sign Here


 The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
 proof of claim.

 Check the appropriate box::
     I am the creditor.
     I am the creditor’s authorized agent.



I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.


           /s/Andrew Spivack
                 Signature
                                                                                             Date 03/07/2024



Print            Andrew Spivack                                                         _         Title   Attorney                       _
                 First Name                     Middle Name       Last Name




Company          Brock & Scott, PLLC                                                    _



If different from the notice address listed on the proof of claim to which this response applies:



Address          3825 Forrestgate Dr._
                 Number                Street



                 Winston-Salem, NC 27103
                 City                                             State           ZIP Code


Contact phone    844-856-6646 Email P A B K R @ b r o c k a n d sc o t t. c o m
       Case 19-16923-mdc       Doc       Filed 03/07/24 Entered 03/07/24 08:52:16         Desc Main
                                         Document      Page 3 of 9

                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                      Philadelphia Division


 IN RE:
 DONNA M SMITH                                         Case No. 19-16923-mdc
                                                       Chapter 13
 Santander Bank, N.A.,
        Movant

 vs.

 DONNA M SMITH ,
     Debtor




                                         CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Response to Notice of
Final Cure Payment has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Michael I. Assad, Debtor's Attorney
1500 Walnut St
Ste 900
Philadelphia, PA 19102
help@cibiklaw.com

Kenneth E. West, Bankruptcy Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

Office of the U.S. Trustee, US Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107
      Case 19-16923-mdc   Doc   Filed 03/07/24 Entered 03/07/24 08:52:16   Desc Main
                                Document      Page 4 of 9

Via First Class Mail:

Donna M Smith
2425 Arcola Street
Philadelphia, PA 19153



Date: March 7, 2024
                                    /s/Andrew Spivack
                                    Andrew Spivack, PA Bar No. 84439
                                    Matthew Fissel, PA Bar No. 314567
                                    Mario Hanyon, PA Bar No. 203993
                                    Ryan Starks, PA Bar No. 330002
                                    Jay Jones, PA Bar No. 86657
                                    Attorney for Creditor
                                    BROCK & SCOTT, PLLC
                                    3825 Forrestgate Drive
                                    Winston Salem, NC 27103
                                    Telephone: (844) 856-6646
                                    Facsimile: (704) 369-0760
                                    E-Mail: PABKR@brockandscott.com
Name:
                     Case 19-16923-mdc
                 Smith
                                                        Doc         Filed 03/07/24 EnteredDate:       03/07/24
                                                                                                         3/1/2024
                                                                                                                  08:52:16                    Desc Main
Loan #
                                                                    Document            Page
                                                                       Filed Bankruptcy 11/04/19
                                                                                                 5 of 9
                                                                                                    Time: 12:36




                                   Post-Petition
Date Posted to                       Due Date      Post-Petition
   Account           Amount Paid   (Applied To)    Amount Due      Suspense Funds (+/-)   Suspense Balance                           Comments

                                                                                                    $0.00
  12/19/19       $        731.81    12/01/19        $731.81        $              -       $           -   First pp pmt @: $731.81 12/1/2019
  01/08/20       $        731.81    01/01/20        $731.81        $              -       $           -
  02/11/20       $        731.81    02/01/20        $731.81        $              -       $           -
  03/09/20       $        731.81    03/01/20        $731.81        $              -       $           -
  04/02/20       $        732.00    04/01/20        $731.81        $             0.19     $          0.19
  05/05/20       $        732.00    05/01/20        $731.81        $             0.19     $          0.38
  06/03/20       $        732.00    06/01/20        $731.81        $            0.19      $          0.57
                                    06/04/20         $0.19         $           (0.19)     $          0.38    PB Curtailment
  07/07/20       $        732.00    07/01/20        $731.81        $            0.19      $          0.57
                                    07/09/20         $0.19         $           (0.19)     $          0.38    PB Curtailment
                                    07/09/20         $0.38         $           (0.38)     $          0.00    PB Curtailment
  08/03/20       $        732.00    08/01/20        $731.81        $            0.19      $          0.19
                                    08/04/20         $0.19         $           (0.19)     $          0.00    PB Curtailment
  09/02/20       $        732.00    09/01/20        $731.81        $            0.19      $          0.19
                                    09/03/20         $0.19         $           (0.19)     $          0.00    PB Curtailment
  10/02/20       $        732.00    10/01/20        $731.81        $            0.19      $          0.19
                                    10/05/20         $0.19         $           (0.19)     $          0.00    PB Curtailment
  11/02/20       $        732.00    11/01/20        $731.81        $            0.19      $          0.19
                                    11/04/20         $0.19         $           (0.19)     $          0.00    PB Curtailment
  12/02/20       $        732.00    12/01/20        $731.81        $            0.19      $          0.19
                                    12/04/20         $0.19         $           (0.19)     $          0.00    PB Curtailment
  01/04/21       $        732.00                                   $          732.00      $        732.00
  02/02/21       $        732.00    01/01/21        $755.23        $          (23.23)     $        708.77    Pmt Change @: $755.23 1/1/2021
  03/02/21       $        732.00    02/01/21        $755.23        $          (23.23)     $        685.54
  04/02/21       $        732.00    03/01/21        $755.23        $          (23.23)     $        662.31
  05/03/21       $        732.00    04/01/21        $755.23        $          (23.23)     $        639.08
  06/02/21       $        755.23    05/01/21        $755.23        $             -        $        639.08
  07/02/21       $        755.23    06/01/21        $755.23        $             -        $        639.08
  08/02/21       $        755.23    07/01/21        $755.23        $             -        $        639.08
  09/02/21       $        755.23    08/01/21        $755.23        $             -        $        639.08
  10/04/21       $        755.23    09/01/21        $755.23        $             -        $        639.08
  11/05/21       $        755.23    10/01/21        $755.23        $             -        $        639.08
  12/06/21       $        755.23    11/01/21        $755.23        $             -        $        639.08
  01/10/22       $        755.23    12/01/21        $755.23        $             -        $        639.08
  02/07/22       $        770.98    01/01/22        $770.98        $             -        $        639.08    Pmt Change @: $770.98 1/1/2022
  03/07/22       $        770.98    02/01/22        $770.98        $             -        $        639.08
  04/05/22       $        770.98    03/01/22        $770.98        $             -        $        639.08
  05/05/22       $        770.98    04/01/22        $770.98        $             -        $        639.08
  06/06/22       $        770.98    05/01/22        $770.98        $             -        $        639.08
  07/05/22       $        770.98    06/01/22        $770.98        $             -        $        639.08
  08/05/22       $        770.98    07/01/22        $770.98        $             -        $        639.08
  09/06/22       $        770.98    08/01/22        $770.98        $             -        $        639.08
  10/05/22       $        770.98    09/01/22        $770.98        $             -        $        639.08
  11/07/22       $        770.98    10/01/22        $770.98        $             -        $        639.08
  12/05/22       $        770.98    11/01/22        $770.98        $             -        $        639.08
  01/05/23       $        770.98    12/01/22        $773.11        $           (2.13)     $        636.95    Pmt Change @: $773.11 12/1/2022
  02/06/23       $        770.98    01/01/23        $773.11        $           (2.13)     $        634.82
  03/06/23       $        770.98    02/01/23        $773.11        $           (2.13)     $        632.69
  04/05/23       $        773.11    03/01/23        $773.11        $             -        $        632.69
  05/05/23       $        773.11    04/01/23        $773.11        $             -        $        632.69
  06/05/23       $        773.11    05/01/23        $773.11        $             -        $        632.69
  07/05/23       $        773.11    06/01/23        $773.11        $             -        $        632.69
  08/07/23       $        773.11    07/01/23        $773.11        $             -        $        632.69
  09/05/23       $        773.11    08/01/23        $773.11        $             -        $        632.69
  10/05/23       $        773.11    09/01/23        $773.11        $             -        $        632.69
  11/06/23       $        773.11    10/01/23        $773.11        $             -        $        632.69
  12/05/23       $        773.11    11/01/23        $773.11        $             -        $        632.69
  01/05/24       $        773.11    12/01/23        $760.77        $           12.34      $        645.03 Pmt Change @: $760.77 12/1/2023
  02/05/24       $        773.11    01/01/24        $774.75        $           (1.64)     $        643.39 Pmt Change @: $774.75 1/1/2024
Case 19-16923-mdc      Doc     Filed 03/07/24
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                                                 643.39
                                                        03/07/24 08:52:16             Desc Main
                               Document       Page 6 of 9
        02/01/24    $774.75                          PP Due for: 2/1/2024
        03/01/24    $774.75
          PPFN     $1,100.00
         Totals:   $2,649.50                         PP Delinquency: $2,649.50
                                                     Less Suspense: $643.39
                                                     Total needed to cure delinquency: $2,006.11
                Case 19-16923-mdc                 Doc      Filed 03/07/24
                                                                 04/06/20 Entered 03/07/24
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                                                                                             16:42:16                       Desc Main
                                                           Document       Page 7
                                                                               1 of 9
                                                                                    2
Fill in this information to identify the case:
Debtor 1
                      DONNA M. SMITH
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     EASTERN                    District of PA
                                                                                (State)
Case Number               19-16923 MDC




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                   12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:            SANTANDER BANK, N.A.                                Court claim no. (if known):      7

Last 4 digits of any number you use to
identify the debtor’s account:                     7898

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

      No.
      Yes. Date of last notice:



Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow account
disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount, indicate that approval in
parentheses after the date the amount was incurred.
           Description                                                          Dates Incurred                                         Amount

1.        Late Charges
                                                                                                                            (1)   $
2.        Non-sufficient funds (NSF) fees
                                                                                                                            (2)   $
3.        Attorney fees
                                                                                                                            (3)   $
4.        Filing fees and court costs
                                                                                                                            (4)   $
5.        Bankruptcy/Proof of claim fees                                        11/25/2019-Plan review                            $250.00
                                                                                11/29/2019-Prep of 410A                           $300.00
                                                                                01/02/2020-Proof of Claim                   (5)   $550.00
6.        Appraisal/Broker's price opinion fees
                                                                                                                            (6)   $
7.        Property inspection fees
                                                                                                                            (7)   $
8.        Tax advances (non-escrow)
                                                                                                                            (8)   $
9.        Insurance advances (non-escrow)
                                                                                                                            (9)   $
10.       Property preservation expenses. Specify:_________________
                                                                                                                           (10)   $
11.       Other. Specify:____________________________________
                                                                                                                           (11)   $
12.       Other. Specify:____________________________________
                                                                                                                           (12)   $
13.       Other. Specify:____________________________________
                                                                                                                           (13)   $
14.       Other. Specify:____________________________________
                                                                                                                           (14)   $
Debtor 1        Case  19-16923-mdc
                DONNA M. SMITH                    Doc        Filed 03/07/24
                                                                   04/06/20 Entered
                                                                              Case Number03/07/24
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                                                                                                         08:52:16
                                                                                          (if known) 19-16923 MDC               Desc Main
                                                             Document       Page 8 2 of 9
                                                                                        2


  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Part 2:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



X /s/ Mario J. Hanyon, Esquire                                                                        Date     March 27, 2020
   Signature


Print:                Mario J. Hanyon, Esq., Id. No.203993                                             Title   Attorney
                    First Name            Middle Name                   Last Name




Company               Phelan Hallinan Diamond & Jones, LLP


Address               1617 JFK Boulevard, Suite 1400


                      Philadelphia, PA 19103

                                                                                                               mario.hanyon@phelanhallinan.
Contact Phone         215-563-7000                                                                   Email     com
    Case
     Case19-16923-mdc
          19-16923-mdc Doc
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                                              PagePage
                                                   9 of 1
                                                        9 of 1
Debtor 1   DONNA M. SMITH                                             Case Number (if known) 19-16923 MDC



                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
  IN RE:                                        :
  DONNA M. SMITH                                :    BK. No. 19-16923 MDC
                            Debtor              :
                                                :    Chapter No. 13
  SANTANDER BANK, N.A.                          :
                            Movant              :    Document No.
                    v.                          :
  DONNA M. SMITH                                :
                            Respondent          :
                                                :

                  CERTIFICATE OF SERVICE OF NOTICE OF POST-PETITION FEES,
                                  EXPENSES AND CHARGES
           I certify under penalty of perjury that I served or caused to be served the above captioned Notice of
  Post-Petition Fees, Expenses and Charges on the parties at the addresses shown below or on the attached list on
  April 6, 2020.
  The types of service made on the parties were: Electronic Notification and First Class Mail.
  Service by Electronic Notification                                 Service by First Class Mail

  WILLIAM C. MILLER, ESQUIRE (TRUSTEE)                               DONNA M. SMITH
  P.O. BOX 1229                                                      2425 ARCOLA STREET
  PHILADELPHIA, PA 19105                                             PHILADELPHIA, PA 19153

  MICHAEL A. CATALDO2, ESQUIRE
  1500 WALNUT STREET, SUITE 900
  PHILADELPHIA, PA 19102

  UNITED STATES TRUSTEE
  OFFICE OF THE U.S. TRUSTEE
  200 CHESTNUT STREET
  SUITE 502
  PHILADELPHIA, PA 19106
  If more than one method of service was employed, this certificate of service groups the parties by the type of
  service. For example, the names and addresses of parties served by electronic notice will be listed under the
  heading “Service by Electronic Notification” and those served by mail will be listed under the heading: Service
  by First Class Mail.”
                                                   /s/ Mario J. Hanyon, Esquire
                                                   Mario J. Hanyon, Esq., Id. No.203993
                                                   Phelan Hallinan Diamond & Jones, LLP
                                                   1617 JFK Boulevard, Suite 1400
                                                   One Penn Center Plaza
                                                   Philadelphia, PA 19103
                                                   Phone Number: 215-563-7000 Ext 31340
                                                   Fax Number: 215-568-7616
                                                   Email: mario.hanyon@phelanhallinan.com
  April 6, 2020
